               Case 2:23-cr-00171-RSM Document 177 Filed 07/26/24 Page 1 of 3




 1                                                         The Honorable Ricardo S. Martinez
 2
 3
 4
 5
 6
 7                      UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF WASHINGTON
 8                                  AT SEATTLE
 9
10    UNITED STATES OF AMERICA,                      NO. CR23-171 RSM
11                          Plaintiff,
12                     v.
                                                     STIPULATED
13    MOSSES RAMOS,                                  ORDER OF FORFEITURE
14    aka MOSES RAMOS,

15                          Defendant.

16
17         THIS MATTER comes before the Court on the parties’ Stipulated Motion for Entry
18 of an Order of Forfeiture (“Motion”), seeking to forfeit Defendant Mosses Ramos’ interest
19 in the following property to the United States:
20         •       A judgment for a sum of money (also known as a forfeiture money judgment)
21                 in the amount of $5,000, reflecting the proceeds Defendant Ramos personally
22                 obtained from the Conspiracy to Distribute Controlled Substances, in
23                 violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 846.
24         The Court, having reviewed the Motion, as well as the other papers and pleadings
25 filed in this matter, hereby FINDS that entry of an Order of Forfeiture is appropriate
26 because:
27
     Stipulated Order of Forfeiture - 1                                   UNITED STATES ATTORNEY
     United States v. Ramos, CR23-171-01 RSM                              700 STEWART STREET, SUITE 5220
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
                Case 2:23-cr-00171-RSM Document 177 Filed 07/26/24 Page 2 of 3




 1          •       The proceeds of Conspiracy to Distribute Controlled Substances, in
 2                  violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 846, are forfeitable
 3                  pursuant to 21 U.S.C. § 853(a);
 4          •       In the Plea Agreement he entered on May 30, 2024, Defendant Ramos
 5                  agreed to forfeit the above-identified sum of money, which reflects the
 6                  proceeds he obtained from the Conspiracy to Distribute Controlled
 7                  Substances (Dkt. No. 127, ¶ 12);
 8          •       This sum of money is personal to the Defendant, pursuant to Federal Rule
 9                  of Criminal Procedure (“Fed. R. Crim. P.”) 32.2(c)(1); no third-party
10                  ancillary process is required before forfeiting it; and
11          •       This motion is based on the following procedural facts, which are reflected
12                  in the pleadings filed and docket entries made in this matter.
13
14          NOW, THEREFORE, THE COURT ORDERS:
15          1.      Pursuant to 21 U.S.C. § 853(a) and his Plea Agreement, Defendant Ramos’
16 interest in the above-identified sum of money in the amount of $5,000 is fully and finally
17 forfeited, in its entirety, to the United States;
18          2.      Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A)-(B), this Order will become
19 final as to Defendant Ramos at the time he is sentenced; it will be made part of the
20 sentence; and it will be included in the judgment;
21          3.      No right, title, or interest in the above-identified sum of money exists in
22 any party other than the United States;
23          4.      Pursuant to Fed. R. Crim. P. 32.2(e), in order to satisfy this sum of money,
24 in whole or in part, the United States may move to amend this Order, at any time, to
25 include substitute property having a value not to exceed this sum of money in the amount
26 of $5,000; and
27
     Stipulated Order of Forfeiture - 2                                       UNITED STATES ATTORNEY
     United States v. Ramos, CR23-171-01 RSM                                  700 STEWART STREET, SUITE 5220
                                                                                SEATTLE, WASHINGTON 98101
                                                                                      (206) 553-7970
             Case 2:23-cr-00171-RSM Document 177 Filed 07/26/24 Page 3 of 3




 1         5.      The Court will retain jurisdiction in this case for the purpose of enforcing
 2 this Order, as necessary.
 3
 4         IT IS SO ORDERED.
 5
 6         DATED this 26th day of July, 2024.
 7
 8
 9                                              A
                                                RICARDO S. MARTINEZ
10
                                                UNITED STATES DISTRICT JUDGE
11
12
13
14
15
16
17 Presented by:
18
       s/ Krista K. Bush
19
     KRISTA K. BUSH
20   Assistant United States Attorney
     United States Attorney’s Office
21   700 Stewart St., Suite 5220
22   Seattle, WA 98101
     (206) 553-2242
23   Krista.Bush@usdoj.gov
24
25
26
27
      Stipulated Order of Forfeiture - 3                                    UNITED STATES ATTORNEY
      United States v. Ramos, CR23-171-01 RSM                               700 STEWART STREET, SUITE 5220
                                                                              SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
